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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :                         Chapter 11
In re:                              :
                                    :                         Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.,           :
                                    :                         Jointly Administered
                          Debtors.1 :
                                    :
                                                              Related Docket No. __
---------------------------------x

ORDER UNDER BANKRUPTCY CODE SECTIONS 105 AND 363 AND BANKRUPTCY
  RULE 6004 (I) AUTHORIZING AND APPROVING THE SALE OF CERTAIN DE
MINIMIS ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES,
 AND OTHER INTERESTS; (II) APPROVING THE PURCHASE AGREEMENT; AND
                  (III) GRANTING OTHER RELATED RELIEF

                 Upon the motion (the “Motion”)2 of the Debtors for entry of an order, under

Bankruptcy Code sections 105 and 363 and Bankruptcy Rule 6004, (i) authorizing the sale (the

“Sale”) of certain de minimis assets solely related to the Ampla brand (the “Ampla Assets”)3 on an

“as-is, where-is” basis, free and clear of any and all liens, encumbrances, and other interests to ColEx

Inc. (the “Buyer”), pursuant to the terms and conditions of that certain Asset Purchase Agreement,

dated as of October 26, 2015 (the “Purchase Agreement”) by and between Quiksilver, Inc. (the

“Seller”) and the Buyer, a true and correct copy of which is attached as hereto as Exhibit A, (ii)

authorizing and approving the terms of the Purchase Agreement, and (iii) granting certain related



1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
3
    As used herein, the Ampla Assets consist of the Purchased Assets enumerated in Section 1.01 of the Purchase
    Agreement (as defined herein) and sections 1.01(a), 1.01(b), and 1.01(d) of the Disclosure Schedule (as defined
    in the Purchase Agreement).
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relief; and the Court having reviewed the Motion and the Bruenjes Ampla Sale Declaration

[Docket No. ___ ]; and due and sufficient notice of the Motion having been given under the

particular circumstances; and it appearing that no other or further notice is necessary; and it

appearing that the relief requested by the Motion is in the best interests of the Debtors, their

estates, their creditors, and other parties in interest; and after due deliberation thereon; and good

and sufficient cause appearing therefor; it is hereby,

                 FOUND AND DETERMINED that:4

                 A.       Consummation of the Sale of the Ampla Assets, and the related relief

granted in this Order, is in the best interests of the Debtors, their estates, their creditors, and other

parties-in-interest. The entry of this Order is an appropriate exercise of the Court’s power under

or in connection with the Bankruptcy Code, including, but not limited to section 105(a) and 363.

                 B.       The Seller (i) has full corporate power and authority to execute the

Purchase Agreement and all other documents contemplated thereby, (ii) has taken all corporate

action necessary to authorize and approve the Purchase Agreement and the consummation of the

transactions contemplated thereby, and (iii) no consents or approvals, other than the

authorization and approval of this Court or those that have previously been obtained, are required

for the Seller to consummate such transactions.

                 C.       A reasonable opportunity to object and to be heard with respect to the

Motion and the relief requested therein has been given, in light of the circumstances, to all

interested persons and entities, including the following: (a) the Office of the United States

Trustee for the District of Delaware; (b) counsel to the agent for the Debtors’ postpetition

4
    The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
    the extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
    extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


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secured loan facilities; (c) counsel to the agent for the Debtors’ prepetition revolving loan

facility; (d) counsel to the indenture trustee for the Debtors’ prepetition senior secured notes; (e)

counsel to the indenture trustee for the Debtors’ prepetition senior unsecured notes; (f) counsel to

the Creditors’ Committee; (g) all parties entitled to notice pursuant to Bankruptcy Rule 2002;

and (h) K-Swiss Inc., AtakBrand LLC, and Athleticism Inc.

               D.      The Debtors have demonstrated both (i) good, sufficient, and sound

business purpose and justification and (ii) compelling circumstances for the Sale pursuant to

Bankruptcy Code section 363(b) prior to, and outside of, a plan of reorganization. The Debtors

are not required to seek or solicit any additional competitive bids.

               E.      The Purchase Agreement and related documents were negotiated,

proposed, and entered into by the Seller and the Buyer without collusion, in good faith, and from

arm’s-length bargaining positions. The Buyer is not an “insider” of any of the Debtors, as that

term is defined in Bankruptcy Code section 101.

               F.      The Buyer is a good faith purchaser under Bankruptcy Code section

363(m) and, as such, is entitled to all of the protections afforded thereby. The Buyer will be

acting in good faith within the meaning of Bankruptcy Code section 363(m) in closing the

transaction contemplated by the Purchase Agreement and related documents.

               G.      The consideration provided by the Buyer for the Ampla Assets pursuant to

the Sale contemplated by the Purchase Agreement (i) is fair and reasonable, (ii) is the highest

and best offer for the Ampla Assets, (iii) will provide a greater recovery for the Debtors’

creditors than would be provided by any other practical available alternative, and (iv) constitutes

reasonably equivalent value and fair consideration under the Bankruptcy Code and under the

laws of the United States, any state, territory, possession, or the District of Columbia.



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               H.      The Debtors are the sole and lawful owners of the Ampla Assets. The

transfer of the Ampla Assets to the Buyer under the Purchase Agreement and related documents

will be a legal, valid, and effective transfer of the Ampla Assets, and will vest the Buyer with all

right, title, and interest of the Seller to the Ampla Assets free and clear of any and all mortgages,

pledges, liens, charges, security interests, claims (as defined in Section 101(5) of the Bankruptcy

Code), encumbrances and interests of any kind or nature whatsoever (collectively, the

“Interests”). With respect to each person or entity asserting an Interest in the Ampla Assets, one

or more of the standards set forth in section 363(f) have been satisfied. All holders of Interests in

the Ampla Assets who did not object to the Motion and the relief requested therein, or who

withdrew any objections to the Motion and the relief requested therein, are deemed to have

consented to the Sale pursuant to section 363(f)(2) of the Bankruptcy Code. Those holders of

Interests who did object fall within one or more of the other subsections of section 363(f) and are

adequately protected by having their Interests, if any, attach to the proceeds of the Sale with the

same priority, validity, force and effect as they attached to such assets immediately before the

closing of the Sale of the Ampla Assets.

               I.      None of the Debtors, nor the Buyer, have engaged in any conduct that

would cause or permit the Purchase Agreement and related documents to be avoided under

Bankruptcy Code section 363(n), to the extent applicable. Specifically, neither the Debtors nor

the Buyer have acted in a collusive manner with any person, and the Purchase Price was not

controlled by any agreement among bidders.

               J.      The transfer of the Ampla Assets to Buyer will be a legal, valid, and

effective transfer of the Ampla Assets, and will vest Buyer with all right, title, and interest of the




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Debtors to the Ampla Assets free and clear of any and all mortgages, pledges, liens, charges,

security interests, claims, encumbrances, and interests.

               K.      The Plate Invention Assignment Agreement is not an executory contract

subject to section 365 of the Bankruptcy Code.

               ORDERED, ADJUDGED AND DECREED that:

               1.      The Motion is GRANTED.

               2.      Any objections or objections with respect to the entry of this Order or the

relief granted herein and requested in the Motion that have not been withdrawn, waived, settled,

or not otherwise resolved pursuant to the terms hereof, if any, are hereby overruled with

prejudice.

               3.      The Purchase Agreement and related documents, and all of the terms and

conditions thereof, are hereby approved as of the date hereof in all respects and as to all parties.

               4.      The Seller is hereby authorized to consummate the terms of the Purchase

Agreement. The Seller and its applicable affiliates are hereby authorized to execute any

documents and take such actions as may be reasonably necessary to consummate the Purchase

Agreement.

               5.      Except as expressly permitted or otherwise specifically provided for in the

Purchase Agreement and related documents, or this Order, pursuant to Bankruptcy Code section

363(f), the Seller’s interests in the Ampla Assets shall be transferred to the Buyer pursuant to the

Purchase Agreement and, as of the Closing Date, shall be free and clear of all Interests of any

kind or nature whatsoever with all such Interests to attach to the net proceeds of the Sale, subject

to the terms of such Interests, with the same validity, force and effect, and in the same order of




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priority, which such Interests now have against the Ampla Assets, subject to any rights, claims

and defenses of Debtors or their estates, as applicable, may possess with respect thereto.

               6.      The transactions contemplated by the Purchase Agreement and related

documents are undertaken by the Buyer in good faith, as that term is used in Bankruptcy Code

section 363(m) and, accordingly, the Buyer is entitled to all of the protections thereunder and the

reversal or modification on appeal of the authorization provided herein to consummate the Sale

shall not affect the validity of the Sale with respect to the Buyer, unless such authorization is

duly stayed pending such appeal.

               7.      This Order shall be binding on and inure to the benefit of the Buyer, their

affiliates, successors and assigns, and the Debtors.

               8.      The consideration provided by the Buyer for the Ampla Assets under the

Purchase Agreement shall be deemed to constitute reasonably equivalent value and fair

consideration under the Bankruptcy Code and under the laws of the United States, any state,

territory, possession, or the District of Columbia.

               9.      The consideration provided by the Buyer for the Ampla Assets under the

Purchase Agreement is fair and reasonable and may not be avoided under section 363(n) of the

Bankruptcy Code.

               10.     For the avoidance of doubt, except as otherwise provided in the Purchase

Agreement, the Buyer shall purchase the Ampla Assets on an “as-is, where-is” basis, with all

faults, and with no representations or warranties, either written or oral, express or implied, from

the Seller or its affiliates. Upon Closing, the Buyer shall assume all risks with respect to the

Ampla Assets and as set forth in the Purchase Agreement. Upon Closing and except for Seller’s

obligations under the Purchase Agreement, the Buyer shall forever and fully release the Seller



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and its affiliates of any and all claims (as the term is defined in section 101(5) of the Bankruptcy

Code) which now exist, may hereinafter exist, or have existed, and are associated with the Ampla

Assets, including, without limitation, the condition or location of the Ampla Assets, the

enforceability of any rights associated with the Ampla Assets, merchantability, fitness for a

particular purpose, or non-infringement.

                 11.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                 12.     This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.


Dated: Wilmington, Delaware
       _____________, 2015



                                THE HONORABLE BRENDAN L. SHANNON
                                CHIEF UNITED STATES BANKRUPTCY JUDGE




                                                   7
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                                       Exhibit A
                                  Purchase Agreement




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                   ASSET PURCHASE AGREEMENT




                                  COLEX INC.
                                        and
                                QUIKSILVER, INC.




                                    Dated as of;

                                  October 26, 2015




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                            ASSET PURCHASE AGREEMENT

       This Asset Purchase Agreement (this "Agreement"), dated as of October 26,
2015 is entered into between Quiksilver, Inc., a Delaware corporation ("Seller"), and
ColEx Inc., a Delaware corporation ("Buyer") (individually, a "Party" and together, the
"Parties").

                                          RECITALS

        WHEREAS, on September 9, 2015, Seller and certain of its affiliates commenced
voluntary proceedings for relief under chapter 11 (the "Chapter 11 Proceedings") of the
United States Bankruptcy Code (the "Code") in the United States Bankruptcy Court for
the District of Delaware (the "Bankruptcy Court");

        WHEREAS, Buyer hereby proposes to enter into a transaction with Seller under
Section 363 of the Code ("Section 363 Transaction") whereby Buyer will acquire
certain assets solely related to the Ampla brand ("Ampla");

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties hereto agree as follows:


                                         ARTICLE I
                                       Purchase and Sale

         Section 1.01 Purchase and Sale of Assets. Subject to the terms and conditions
set forth herein, Seller shall (or shall cause its applicable affiliate to) sell, assign, transfer,
convey and deliver to Buyer, and Buyer shall purchase from Seller or its applicable
affiliate, all of Seller's or its applicable affiliate’s right, title and interest in the following
(collectively, the "Purchased Assets"):
        (a)      the trademarks and patents set forth in Section 1.01(a) of the disclosure
schedule attached hereto (the "Disclosure Schedule"), including all registrations (if any),
all applications (if any), all renewals (if any), all goodwill associated with such
trademarks and patents, and all claims for past, present or future infringement or breach
of such trademarks and patents, including, but not limited to, such rights and claims as
they relate to the approximately 10,000 pairs of Ampla branded shoes (the “Additional
Inventory”), both finished and in-process, and the related designs, patterns and molds
currently believed to be in the possession of a third party manufacturer (collectively, the
"Purchased IP");
      (b)        The internet domain names listed in Section 1.01(b) of the Disclosure
Schedule;




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        (c)    That certain Assignment Agreement, by and between AtakBrand LLC,
Athleticism, Inc. and Buyer, dated December 20, 2013 (the "Plate Invention
Assignment Agreement");
       (d)     The inventory and work-in-process of Ampla product set forth on Section
1.01(d) of the Disclosure Schedule (the "Purchased Inventory");
       (e)       The designs, patterns and molds owned by and in the possession of Seller
or one of its affiliates and solely related to Ampla products; and
        (f)     Any marketing materials relating solely to Ampla, including without
limitations, tradeshow marketing collateral.

        Section 1.02 Excluded Assets. Notwithstanding anything to the contrary
herein, Seller is not selling and Buyer is not purchasing, and Seller shall not assign,
transfer, convey and deliver to Buyer and Buyer shall not acquire or have any rights to
acquire, any assets, properties or rights of the Seller or its affiliates that are not Purchased
Assets (the "Excluded Assets").

         Section 1.03 Rights to Pursue Additional Inventory. Seller acknowledges
that Buyer may negotiate the purchase of, or enforce intellectual property claims with
respect to, the Additional Inventory. Buyer agrees that Seller shall have no liability to
Buyer arising from or related to the Additional Inventory, and Buyer assumes all risk and
liability associated with the Additional Inventory in the event that Buyer completes a
separate transaction with Seller’s manufacturer related to the purchase and sale of the
Additional Inventory.

         Section 1.04 Assumption of Liabilities. Subject to the terms and conditions set
forth herein, Buyer shall assume and agree to pay, perform and discharge all liabilities of
Seller or its applicable affiliate arising from or related to ownership or use of the
Purchased Assets or the operation of the Ampla brand after the Closing Date, including:
(i) all of Seller’s obligations arising under or related to the Plate Invention Assignment
Agreement (provided, that Buyer shall assume all of Seller’s unpaid payment obligations
under the Plate Invention Assignment Agreement, including payment obligations that
became due prior to the Closing Date); (ii) any liabilities arising in connection with the
marketing, transportation, distribution and sale of the Purchased Inventory or the
Additional Inventory, including any products liability or warranty related claims; and (iii)
any trade payables or other liabilities (including with respect to taxes) (collectively, the
"Assumed Liabilities"). Buyer shall indemnify each of Quiksilver and its affiliates
against, and shall hold Quiksilver and its affiliates harmless from and against, any and all
losses, damages, liabilities, costs or expenses, including reasonable attorneys’ fees,
incurred or sustained by, or imposed upon, Quiksilver or one of its affiliates based upon,
arising out of, with respect to or by reason of the Assumed Liabilities.




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        Section 1.05 Purchase Price. The aggregate purchase price (the "Purchase
Price") for the Purchased Assets shall be Two Hundred Thousand Dollars ($200,000.00)
in cash at the Closing (as defined below), plus the assumption of the Assumed Liabilities.
The Buyer shall pay the Purchase Price to Seller at the Closing in cash by wire transfer of
immediately available funds in accordance with the wire transfer instructions set forth in
Section 1.05 of the Disclosure Schedule. Concurrently with the execution of this
Agreement, Buyer shall pay to Seller in cash by wire transfer of immediately available
funds in accordance with the wire transfer instructions set forth in Section 1.05 of the
Disclosure Schedule, a deposit of Twenty Thousand Dollars ($20,000.00) (the
"Deposit"), which shall be credited against the Purchase Price at Closing.

         Section 1.06 Transfer Taxes and Closing Costs. Buyer shall be responsible
for any transfer taxes or other taxes imposed by reason of the transfer of the Purchased
Assets provided hereunder and any deficiency, interest or penalty asserted with respect
thereto. Buyer shall be responsible for and shall promptly pay any and all recording
costs, filings fees and related expenses associated with the assignment and transfer of the
Purchased Assets to Buyer and the registration and/or recordation of such assignment and
transfer with any and all applicable federal, state or local governmental agency, body, or
entity, as well as all costs associated with the transfer of the Purchased Inventory or any
other physical assets from Seller’s facilities to Buyer’s facilities

        Section 1.07 Allocation of Purchase Price. Prior to Closing, Seller and Buyer
agree to allocate the Purchase Price among the Purchased Assets for all purposes
(including tax and financial accounting). Buyer and Seller shall file all tax returns
(including amended returns and claims for refund) and information reports in a manner
consistent with such allocation and shall take no position with any taxing authority
contrary to such allocation.

        Section 1.08 Bankruptcy Court Approval. Upon execution of this
Agreement, Seller shall prepare and file a motion to obtain an order approving this
Agreement and the transaction contemplated herein (the "Approval Order") and give
proper notice of such motion. The Approval Order shall provide for: (1) approval of this
Agreement, (2) authorization to the Seller to execute this Agreement and consummate its
terms, (3) authorization to the Seller or its applicable affiliates to execute such additional
documents and take such actions as may be reasonably necessary to consummate this
Agreement; and (4) approval of the purchase and sale of the Purchased Assets to Buyer
free and clear of any mortgage, pledge, lien, charge, security interest, claim or other
encumbrance pursuant to Code section 363(b) and (f). The Approval Order shall also
contain findings and conclusions that the Buyer is a good-faith purchaser pursuant to
Code section 363(m). In the event that the Bankruptcy Court has not entered the
Approval Order by November 30, 2015, this Agreement shall immediately terminate and
be of no further force and effect.




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        Section 1.09 Closing. Time is of the essence. Consequently, Buyer is prepared
to proceed with an "as-is," "where-is" acquisition of the Purchased Assets with no due
diligence process or any other conditions to Closing, except for the terms and conditions
set forth in this Agreement. The closing of the transactions contemplated by this
Agreement (the "Closing") shall take place within three (3) business days of the later of
(a) the expiration of the deadline to file a timely appeal with respect to the Approval
Order with no such appeal timely filed or (b) the date that any timely filed appeal is
finally resolved, so long as the Approval Order is not rescinded (the "Closing Date").
The consummation of the transactions contemplated by this Agreement shall be deemed
to occur at 12:01 a.m. on the Closing Date. In no event shall the Closing occur later than
December 17, 2015. In the event the Closing has not occurred on or before December 17,
2015, this Agreement shall immediately terminate and be of no further force and effect.

            Section 1.10 Closing Deliverables.
            (a)    At the Closing, Seller shall deliver to Buyer the following:
              (i)   a bill of sale in the form of Exhibit A attached hereto (the "Bill of
Sale") and duly executed by Seller, transferring the Purchased Assets to Buyer;
                (ii) an assignment and assumption agreement in the form of Exhibit B
hereto (the "Assignment and Assumption Agreement") and duly executed by Seller,
effecting the assignment to and assumption by Buyer of the Purchased Assets and the
Assumed Liabilities; and
                 (iii) assignments in form and substance satisfactory to Seller and Buyer
(the "Intellectual Property Assignments") and duly executed by Seller, transferring all
of Seller's or its applicable affiliate’s right, title and interest in and to the Purchased IP;
provided, that Buyer may produce and Seller may execute and deliver individual specific
assignments of Purchased IP within a reasonable time following Closing;
                (iv) an Agreement for the Transfer of Domain Names in the form of
Exhibit C (the "Domain Name Transfer Agreement"), executed by Seller or the
applicable affiliate of Seller.
            (b)    At the Closing, Buyer shall deliver to Seller the following:
                   (i)    the Purchase Price, less the Deposit;
                   (ii)   the Assignment and Assumption Agreement duly executed by
                          Buyer;
               (iii) the Intellectual Property Assignments duly executed by Buyer;
provided, that Buyer may produce and execute and deliver individual specific assignments
of Purchased IP within a reasonable time following Closing;
                  (iv)    The Domain Name Transfer Agreement, duly executed by Buyer.




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        Section 1.11 Termination. In the event this Agreement automatically
terminates by its terms pursuant to Section 1.08 or Section 1.09, the Parties shall have no
further obligation or liability hereunder and Seller shall immediately return the Deposit to
Buyer.


                                     ARTICLE II
                       Representations And Warranties Of Seller

       Section 2.01 Accuracy of Representations Through Closing. Seller
represents and warrants to Buyer that nothing has come to the attention of a vice
president, a director, or an executive officer of Seller that would cause such individual to
believe that the representations in this Article II contain any untrue statement of a
material fact or omit any material fact necessary to make them not misleading.

        Section 2.02 Organization and Authority of Seller. Seller is a corporation
duly organized, validly existing and in good standing under the laws of the State of
Delaware. Subject to the Approval Order, Seller has full corporate power and authority
to enter into this Agreement and the documents to be delivered hereunder, to carry out its
obligations hereunder and to consummate the transactions contemplated hereby. This
Agreement and the documents to be delivered hereunder have been duly authorized,
executed and delivered by Buyer, and, subject to the Approval Order, constitute legal,
valid and binding obligations of Buyer enforceable against Buyer in accordance with
their respective terms.

         Section 2.03 No Other Representations and Warranties. Except for the
representations and warranties contained in this Article 2, neither Seller nor any of its
affiliates has made or makes any other express or implied representation or warranty,
either written or oral, on behalf of Seller, including any representation or warranty as to
the accuracy or completeness of any information regarding Seller or the Ampla brand
furnished or made available to Buyer and its representatives or as to the future revenue,
profitability or success of the Ampla brand, or any representation or warranty arising
from statute or otherwise in law. Seller hereby expressly disclaims all other warranties,
including with respect to merchantability, fitness for a particular purpose or non-
infringement. Buyer acknowledges and agrees that Buyer takes the Purchased Assets "as
is" "where is" with all faults.

       Section 2.04 Adverse Claims. Since November 1, 2014, other than the
correspondence from the intellectual property attorney for K-Swiss Inc., dated March 6,
2015, a copy of which has been delivered to Buyer, Seller has not received any written
claim or other correspondence relating to the validity of the Purchased IP.




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                                   ARTICLE III
                      Representations And Warranties Of Buyer

       Section 3.01 Accuracy of Representations Through Closing. Buyer
represents and warrants to Seller that nothing has come to Buyer's attention that would
cause Buyer to believe that the representations in this Article III contain any untrue
statement of a material fact or omit any material fact necessary to make them not
misleading.

        Section 3.02 Organization and Authority of Buyer. Buyer is a corporation
duly organized, validly existing and in good standing under the laws of the State of
Delaware. Buyer has full corporate power and authority to enter into this Agreement and
the documents to be delivered hereunder, to carry out its obligations hereunder and to
consummate the transactions contemplated hereby. This Agreement and the documents
to be delivered hereunder have been duly authorized, executed and delivered by Buyer,
and constitute legal, valid and binding obligations of Buyer enforceable against Buyer in
accordance with their respective terms.

        Section 3.03 No Conflicts; Consents. The execution, delivery and performance
by Buyer of this Agreement and the documents to be delivered hereunder, and the
consummation of the transactions contemplated hereby, do not and will not: (a) violate or
conflict with the certificate of incorporation, by-laws or other organizational documents
of Buyer; or (b) violate or conflict with any judgment, order, decree, statute, law,
ordinance, rule or regulation applicable to Buyer. No consent, approval, waiver or
authorization is required to be obtained by Buyer from any person or entity (including
any governmental authority) in connection with the execution, delivery and performance
by Buyer of this Agreement and the consummation of the transactions contemplated
hereby.

        Section 3.04 Legal Proceedings. There is no Action of any nature pending or,
to Buyer's knowledge, threatened against or by Buyer that challenges or seeks to prevent,
enjoin or otherwise delay the transactions contemplated by this Agreement. No event has
occurred or circumstances exist that may give rise to, or serve as a basis for, any such
Action.

        Section 3.05 Sufficiency of Funds. Buyer has sufficient cash on hand or other
sources of immediately available funds to enable it to make payment of the Purchase
Price, and consummate the transactions contemplated by this Agreement.

       Section 3.06 Independent Investigation. Buyer has conducted its own
independent investigation, review and analysis of the business, results of operations,




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prospects, condition (financial or otherwise) or assets of the Ampla brand, and
acknowledges that it has been provided adequate access to the personnel, properties,
assets, premises, books and records, and other documents and data of Seller for such
purpose. Buyer acknowledges and agrees that: (a) in making its decision to enter into this
Agreement and to consummate the transactions contemplated hereby, Buyer has relied
solely upon its own investigation; and (b) none of the Seller nor any other person has
made any representation or warranty as to the Purchased Assets, the Assumed Liabilities,
the Ampla brand or this Agreement, except as expressly set forth in Article 2 of this
Agreement.

       Section 3.07 Brokers. No broker, finder or investment banker is entitled to any
brokerage, finder's or other fee or commission in connection with the transactions
contemplated by this Agreement based upon arrangements made by or on behalf of
Buyer.


                                     ARTICLE IV
                                     Miscellaneous

        Section 4.01 Expenses. All costs and expenses incurred in connection with this
Agreement and the transactions contemplated hereby shall be paid or borne by the Party
incurring such costs and expenses.

        Section 4.02 Further Assurances. The Parties agree that they will execute any
and all additional documents and take all additional steps which may be necessary to
consummate the Agreement.

        Section 4.03 Notices. All notices, requests, consents, claims, demands, waivers
and other communications hereunder shall be in writing and shall be deemed to have
been given (a) when delivered by hand (with written confirmation of receipt); (b) when
received by the addressee if sent by a nationally recognized overnight courier (receipt
requested); (c) on the date sent by facsimile of a PDF document (with confirmation of
transmission) if sent during normal business hours of the recipient, and on the next
business day if sent after normal business hours of the recipient; or (d) on the third day
after the date mailed, by certified or registered mail, return receipt requested, postage
prepaid. Such communications must be sent to the respective Parties at the following
addresses (or at such other address for a Party as shall be specified in a notice given in
accordance with this Section 4.03):


If to Seller:                       Quiksilver, Inc.
                                    5600 Argosy Circle, #100
                                    Huntington Beach, CA 92649




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                                                                      EXECUTION COPY


                                     Facsimile:     (714) 784 7674
                                     Attention:     General Counsel

If to Buyer:                         ColEx, Inc.
                                     5832 E. 2nd Street
                                     Long Beach, CA 90803
                                     E-mail: rob@colbyexon.com
                                     Attention:     Rob Colby

with a copy to:                      Smiley Wang-Ekvall, LLP
                                     3200 Park Center Drive, Suite 250
                                     Costa Mesa, CA 92626
                                     Facsimile:     (714) 445-1002
                                     E-mail: lekvall@swelawfirm.com
                                     Attention:     Lei Lei Wang Ekvall


       Section 4.04 Headings. The headings in this Agreement are for reference only
and shall not affect the interpretation of this Agreement.

        Section 4.05 Severability. If any term or provision of this Agreement is
invalid, illegal or unenforceable in any jurisdiction, such invalidity, illegality or
unenforceability shall not affect any other term or provision of this Agreement or
invalidate or render unenforceable such term or provision in any other jurisdiction.

        Section 4.06 Entire Agreement. This Agreement and the documents to be
delivered hereunder constitute the sole and entire agreement of the Parties to this
Agreement with respect to the subject matter contained herein, and supersede all prior
and contemporaneous understandings and agreements, both written and oral, with respect
to such subject matter. In the event of any inconsistency between the statements in this
Agreement and the documents to be delivered hereunder, the Exhibits and Disclosure
Schedules (other than an exception expressly set forth as such in the Disclosure
Schedules), the statements in this Agreement will control.

        Section 4.07 Successors and Assigns. This Agreement shall be binding upon
and shall inure to the benefit of the Parties hereto and their respective successors and
permitted assigns, including any trustees or estate representatives in the Seller's
bankruptcy case. Neither Party may assign its rights or obligations hereunder without the
prior written consent of the other party, which consent shall not be unreasonably withheld
or delayed. No assignment shall relieve the assigning party of any of its obligations
hereunder.




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        Section 4.08 Governing Law. This Agreement shall be governed by and
construed in accordance with the internal laws of the State of Delaware without giving
effect to any choice or conflict of law provision or rule.

        Section 4.09 Public Announcements. Buyer shall not make, or cause or permit
to be made, any press release or public announcement, or otherwise communicate with
any news media, in respect of this Agreement without the prior written consent of Seller,
and the Parties shall cooperate as to the timing and contents of any such approved press
release or public announcement.

        Section 4.10 No Third Party Beneficiaries. Nothing expressed or referred to
in this Agreement will be construed to give any person other than the Parties (and their
successors and assigns) any legal or equitable right, remedy, or claim under or with
respect to this Agreement or any provision of this Agreement.

         Section 4.11 Interpretive Matters. Unless the context otherwise requires, (a)
all references to Articles, Sections, Exhibits or Schedules are to Articles, Sections,
Exhibits or Schedules in this Agreement, (b) each accounting term not otherwise defined
in this Agreement has the meaning assigned to it in accordance with GAAP, (c) words in
the singular or plural include the singular and plural and pronouns stated in either the
masculine, the feminine or neuter gender shall include the masculine, feminine and neuter
and (d) the use of the word "including" in this Agreement shall be by way of example
rather than limitation.

        Section 4.12 Counterparts. This Agreement may be executed in counterparts,
each of which shall be deemed an original, but all of which together shall be deemed to
be one and the same agreement. A signed copy of this Agreement delivered by facsimile,
e-mail or other means of electronic transmission shall be deemed to have the same legal
effect as delivery of an original signed copy of this Agreement.



                            [SIGNATURE PAGE FOLLOWS]




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                                   DISCLOSURE SCHEDULES

                             Section 1.01(a) —Trademarks and Patents.

                                           Trademarks

                        Cl
                        as     Statu     Applicatio     Applicatio      Registrati   Registratio   Applicant/Registr
Country     Mark        s      s         n No.          n Date          on No.       n Date        ant
                               Regis                                                               Biarritz Holdings,
Benelux     AMPLA       18     tered     201406         2/27/2014       201406       10/31/2014    S.à.r.l.
                        18
                        ,                                                                          54th Street
Canada      AMPLA       25     Filed     1665745        2/27/2014                                  Holdings, S.à.r.l.


                        18
                        ,                                                                          54th Street
Canada                  25     Filed     1672248        4/10/2014                                  Holdings, S.à.r.l.


                        18
                        ,                                                                          54th Street
Canada                  25     Filed     1672243        4/10/2014                                  Holdings, S.à.r.l.
Community                      Regis                                                               Biarritz Holdings,
Trademark   AMPLA       25     tered     12642955       2/27/2014       12642955     11/13/2014    S.à.r.l.


                        18
Community               ,      Regis                                                               Biarritz Holdings,
Trademark               25     tered     12785085       4/11/2014       12785085     9/10/2014     S.à.r.l.


                        18
Community               ,      Regis                                                               Biarritz Holdings,
Trademark               25     tered     12785226       4/11/2014       12785226     9/10/2014     S.à.r.l.
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                                        Regis                                                          Biarritz Holdings,
France          AMPLA            18     tered    144126861    2/27/2014       144126861   2/6/2015     S.à.r.l.
                                        Regis    30 2014                      30 2014                  Biarritz Holdings,
Germany         AMPLA            18     tered    0580284      2/27/2014       058 028     10/15/2014   S.à.r.l.
                                        Regis    UK000030                     UK000030                 Biarritz Holdings,
Great Britain   AMPLA            18     tered    70813        2/27/2014       70813       11/28/2014   S.à.r.l.
                                        Regis                                                          Biarritz Holdings,
Spain           AMPLA            18     tered    3526143      8/18/2014       3526413     12/23/2014   S.à.r.l.


                                 18
                                 ,
United States                    25     Filed    86248331     4/10/2014                                QS Wholesale, Inc.
                AMPLA
United States   FORCEPOWER       25     Filed    86299447     6/3/2014                                 QS Wholesale, Inc.
United States   AMPLA            18     Filed    86205379     2/26/2014                                QS Wholesale, Inc.


                                 18
                                 ,
United States                    25     Filed    86248310     4/10/2014                                QS Wholesale, Inc.




United States                    25     Filed    86300195     6/4/2014                                 QS Wholesale, Inc.
United States   AMPLA            35     Filed    86634254     5/19/2015                                QS Wholesale, Inc.
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                                                          Patents

Title                         Owner         Case Status           Country            Application     Filing Date
                                                                                     No.
Athletic Shoe with Internal   Quiksilver,   Provisional           United States      61865520        8/13/2013
Sprung Member                 Inc.                                of America
Shoe With Elastically         Quiksilver,   Application           Patent             PCT/US14/50     8/13/2014
Flexible Extension            Inc.          Pending               Cooperation        807
                                                                  Treaty
Shoe With Elastically         Quiksilver,   Application           United States      14/458328       8/13/2014
Flexible Extension            Inc.          Pending               of America
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                      Section 1.01(b) — Domain Names

Domain Name                   Registrant
amplasports.com               Quiksilver, Inc.
amplasport.com                Quiksilver, Inc.
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                            Section 1.01(d) — Inventory

                                     Summary
                                  Ampla MLDC ATS
Row Labels                           10.19.15

Men                                      989

 AEYS700001-XKKK                         432

   AMPLA FLY M SHOE XKKK                 432

 AEYS700001-XRRR                         557

   AMPLA FLY M SHOE XRRR                 557

Women                                   1016

 AEJS700001-XKKK                         342

   AMPLA FLY J SHOE XKKK                 342

 AEJS700001-XRRR                         674

   AMPLA FLY J SHOE XRRR                 674

Grand Total                             2005




                                       Detail

                                   [see next page]
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Material Group Selling Group  Gender/Age Department Product Type     Detail   Grid Value Quantity EAN/UPC
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 9.5              12 888701640844
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 9                36 888701640837
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 8.5              28 888701640820
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 8                65 888701640813
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 7.5              29 888701640806
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 7                66 888701640790
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 6.5              17 888701640783
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 6                42 888701640776
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 5.5               6 888701640769
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 5                12 888701640752
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 11                6 888701640745
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 10.5              6 888701640738
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 10               17 888701640721
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 6                84 888701640646
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 6.5              36 888701640653
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 7              121 888701640660
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 7.5              58 888701640677
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 8              125 888701640684
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 8.5              53 888701640691
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 9                72 888701640707
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 9.5              23 888701640714
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 10               36 888701640592
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 11               18 888701640615
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 10.5             12 888701640608
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 5                24 888701640622
Footwear       Ampla Footwear Women      Footwear   Cold Cement Shoe Low Shoe 5.5              12 888701640639
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 10 D             77 888701640295
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 10.5D            38 888701640301
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 11 D             47 888701640318
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 11.5D            14 888701640325
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 12 D             28 888701640332
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 12.5D             6 888701640349
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 13 D             10 888701640356
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 13.5D             6 888701640363
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 14 D              5 888701640370
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 7 D              18 888701640387
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 7.5 D            12 888701640394
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 8 D              34 888701640400
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 8.5 D            28 888701640417
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 9 D              75 888701640424
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 9.5 D            34 888701640431
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 7 D              24 888701640530
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 7.5 D            18 888701640547
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 8 D              48 888701640554
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 8.5 D            41 888701640561
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 9 D              94 888701640578
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 9.5 D            40 888701640585
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 10 D             94 888701640448
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 10.5D            45 888701640455
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 11 D             52 888701640462
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 11.5D            22 888701640479
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 12 D             39 888701640486
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 13 D             16 888701640509
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 12.5D            12 888701640493
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 13.5D             6 888701640516
Footwear       Ampla Footwear Men        Footwear   Cold Cement Shoe Low Shoe 14 D              6 888701640523
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     Section 1.04 — Wire transfer instructions from Seller

               Account Title: Quiksilver Inc
               ABA 026009593
               Account #1233397023
